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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORI])A
Www.flsb.uscourts.gov .
CHAPTER 13 PLAN (Indjvidual Adjustment of Debts)
13 5th Amended Plan (Indicate lst, 2nd, etc. amended, if applicable)
___ Modified Plan (lndicate lst, an, etc. amended, if applicable)

 

 

DEBTOR: Francisco Americo Rivas JOINT DEBTOR: CASE NO.: 12-21406-AJC
Last F our Digits of SS# xxx-xx-4974 Last F our Digits of SS#

 

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 9_ months In the event the trustee does not collect the full 10%, any portion not collected Will be paid to
the creditors pro-rata under the plan:

A. $ 2,036.11 for months 1 to 60 ; Beginning June 8, 2012

B. $ for months to ;

C. $ for months to ; in order to pay the following creditors:
Administrative: Attorney's Fee - $ 3,500.00 Base TOTAL PA]D $ 1,494.00

Fee plus three
motions to value
@ 750.00 for a

 

 

 

 

 

total fee of
$5,750.00
Balance Due $ 4,256.00 payable 851.20 /month (Months 1 to 5 )
$

Secured Creditors: [Retain Liens pursuant to ll USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1- Arrearage on Petition Date $ 0.00

Address: Arrea_rs Payment $ /month (Months _0_ to £)

Account No: Regular Payment $ /month (Months 2 to _0_)

 

 

 

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

 

 

 

 

 

 

 

 

 

Description ofCollateral
Secured Creditor and Value Of Collateml Interest Rate Plan Payments Months of Payment Total Plan Payrnents
16455 NW 22nd.
Avenue
Miami Gardens. FL
Homeq Servicing 33054
POB 13716; Sacramento, Fo|io #
CA 95853-371 6 34_2115_003_4310 439-50 1 To 5
Account No: xxxxx8453 $ 27,917_75 5.25% $ 538.28 6 To 60 31,802.76
16415 NW 22nd.
Aven ue
Miami Gardens. Fl,
NationStar Mortgage 33054
POB 650783; Dallas, TX Fo|io #
75265~0783 34-2115-003-4270 541-80 '1 TO 5
Account No: xxxxxx 2503 $ 43,000_00 5.25% $ 841.36 6 To 60 48,983.84

 

 

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Secured Creditor and Va]ue cf Co]latem] Interest Rate Plan Payments Months ofPayment Total Plan Payments
' 16455 NW 22nd. ' ' ' " " ' "
Avenue
Miami Gardens. FL
chen Loan Servicing 33054
12650 |ngenuity Drvie; polio #
Orlando, FL 32826 34_2115-003_4310
Account No: xxxxxx 3607 27,917_75 0 0.00 0.00 0.00
b 16455 NW 22nd.
Avenue
Miami Gardens. FL
33054
PPTS 1, LLC. _
Poe 5822; New York, NY F 011° #
10087_5822 34-2115-003-4310
xx-xxxx-xx-x7318 $13,172_41 18.00% 364.91 6 To 60 20,069.54
16455 NW 22nd. ' '
Avenue
Miami Gardens. FL
Certa Group Corp., 33054
2720 Coral Way, Miami, FL Folio #
33145 34-2115-003-4310
xx-xxxx-xx-x2264 $1,909_34 8.25% 42.49 6 To 60 2,337.21
Priori§ Creditors: [as defined in ll U.S.C. §507]
1. Total Due $
Payable $ /month (Months 6 to 60) Regular Payment $ NlA

Unsecured Creditors: Pay $ 45.46 /month (Months _6_ to 60 ).
Pro rata dividend Will be calculated by the Trustee upon review of filed claims after bar date.

 

The debtor(s) Will provide copies of his/her income tax returns to the Chapter 13 Trustee on or before
May 15 during the pendency of the plan. The debtors Will amend Schedule I and J and modify the plan if
necessary.

Other Provisions Not lncluded Above:
Rejected Contracts and/or Leases
-NONE-

Assumed Contracts and/or Leases

Gladis Sulbaran Lesee on signed 11/01/2011 expires 10/30/2012 A one year lease

agreement

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

ls/ Francisco Americo Rivas
Francisco Americo Rivas
Debtor

Date:

 

August 30, 2012

 

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